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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION


 STEPHANIE S. LOGAN                        )
                                           )
               Plaintiff                   )
                                           )
 vs.                                       )     CASE NO. 4:17-cv-00117-SEB-TAB
                                           )
 GLA COLLECTION CO., INC.                  )
                                           )
               Defendant                   )

                                ORDER OF DISMISSAL

        The Plaintiff, Stephanie Logan, and the Defendant, GLA Collection Co., Inc.,

 having filed their Stipulation of Dismissal, and the same having been submitted for

 the consideration of the Court and the Court being fully advised in the premises,

 and it appearing to the Court that all claims in this cause have been fully

 compromised and settled as they relate to the Plaintiff and the Defendant, GLA

 Collection Co., Inc., the Court now APPROVES the parties' Stipulation of Dismissal,

 and it is

        ORDERED by the Court that this cause be and the same hereby is dismissed

 with prejudice and said parties are to pay their own costs.



               3/29/2018
        DATED ______________                    _______________________________
                                                SARAH EVANS BARKER, JUDGE
                                                United States District Court
                                                Southern District of Indiana




 Distribution to counsel of record via CM/ECF
